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                 EXHIBIT A
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                                DEPARTMENT OF LAW


                                    CITY OF CHICAGO

December 6, 2018

Via Messenger Delivery

To:     Mark Roth
        Roth Fioretti LLC
        311 S. Wacker, Ste. 2470
        Chicago, IL 60606

        Re: PNotect Our Parks, et al. v. Chicago Park District, et al., 18 CV 3424

Dear Mark:

       Enclosed herewith is a CD containing documents being produced on behalf of both
Defendants in response to the Court's November 29,2018 order.

       First, we are producing a single set of agreements pertaining to the use ofPark District
land by the eight museums whose agreements were not submitted as part of Defendants'
November 21 dispositive motion.

       Second, we are producing a single set of, or direct you to, the following final studies
analyzing the public benefits and detriments of locating the Obama Presidential Center on the
Jackson Park site, as described below:

         The City of Chicago Department ofPlanning and Development's May 17, 2018 Report
         to the Chicago Plan Commission concerning The Barack Obama Foundation's
         application for approval under the Lake Michigan and Chicago Lakefront Protection
         Ordinance (Application No. 721)and application for approval of a Planned Development
         (Application No. 19495)(produced herewith)

   • The City of Chicago Department ofPlanning and Development's May 17, 2018 Report
     to the Chicago Plan Commission concerning the Chicago Department of
     Transportation's application for approval under the Lake Michigan and Chicago
     Lakefront Protection Ordinance (Application No. 722)(produced herewith)

   • Jackson Park Revitalization Traffic Impact Study Final Report, Sam Schwartz
     Transportation Consultants(Feb. 2018), available at:


         30 NORTH LASALLE STREET, SUITE 1230, CHICAGO,.ILLINOIS 60602
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        https://www.cityofchicago.org/content/dam/city/depts/dcd/supp info/jackson/CDOT-
        Traffic-Impact-Study.pdf

        A Place ofPossibility: The Response to the Requestfor Qualifications, The University
        of Chicago (June 16, 2014), available at: https://www.obama.or,g/updates/rfp-responses-
        release/

    • The Economic Impact ofthe Barack Obama Presidential Library in Chicago: An
      Analysis ofPotential Sites near the University ofChicago on Chicago's South Side,
      Anderson Economic Group, LLC(Apr. 25, 2014), submitted with A Place ofPossibility.•
      The Response to the Requestfor Qualifications, available at:
      https://www.obama.or~pdates/rfp-responses-release/

    • The Economic Impact ofthe Barack Obama Presidential Library in Chicago: An
      Analysis ofPotential Sites near,the University ofChicago on Chicago's South Side,
      Anderson Economic Group,LLC(Apr. 25,2014)(abridged version)(produced
      herewith)

    • Improvement ofJackson Park and South Shore GolfCourses as part ofthe development
      ofthe Obama Presidential Library, Renaissance Golf Design, Inc., submitted with A
      Place ofPossibility: The Response to the Requestfor Qualifications, available at:
      https://www.obama.or/updates/rfp-responses-release/

    • A Place ofPossibility: The Response to the Requestfor.Proposal, The University of
      Chicago (Dec. 11, 2014), available at: https://www.obama.org/updates/rfp-responses-
        relea~e/


    ~   Visioning the Obama Presidential Library, Transsolar, Inc., submitted with A Place of
        Possibility: The Response to the Requestfor Qualifications, available at:
        https://www.obama.org/updates/rfp-responses-release/

   • Traffic and Parking Study by Sam Schwartz Engineering, DPC,submitted with
     Woodlawn Appendix to A Place ofPossibility: The Response to the Requestfor
     Proposal, available at: https://www.obama.or~pdates/rfp-responses-release/


        Defendants reserve all objections to use ofthese documents in the litigation, including
but not limited to lack of relevance.

       Finally, we note that a variety of additional documents relating to the OPC are(and have
been) publicly available on the following City, Park District, or Foundation websites:


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         https://www.cityofchica~o_org/city/en/depts/mayor/supp info/obama-presidential-
         center.html

        https://www.cityofchica~o_or /city/en/depts/dcd/supp info/Jackson-park_
        improvements.html

        https://www.southlakefrontplan.com/south-lakefront-framework-plan-report-042018

        https://www.obama.org/updates/rfp-responses-release/

        https://www.obama.org/wp-content/uploads/Fact-Sheet OPC-Economic-Impact.pdf



        Please let us know if you have any questions. Thank you.



                                            Sincerely,


                                                               ~_'"

                                            Chief Assistant Corporation Counsel
                                            City of Chicago, Department of Law
                                            Constitutional and Commercial Litigation Division
                                            30 North LaSalle Street, Suite 1230
                                            Chicago, Illinois 60602
                                            (312)744-7129

Encl.

cc:     Joseph Roddy




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